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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                                 _________________

UNITED STATES OF AMERICA,
                                                        Case No. 1:23-cr-29
              Plaintiff,
v.                                                      Hon. Paul L. Maloney
                                                        United States District Judge
TERRANCE WAYNE VANOCHTEN,

            Defendant.
_____________________________/


                    DEFENDANT’S MOTION TO REVOKE BOND

       The defendant, Terrance Wayne Vanochten, by and through his attorney, Sean R.

Tilton, files for the Court’s consideration a motion to revoke defendant’s bond based on the

following:

       I.     Procedural History

       The defendant was charged by indictment on March 14, 2023, with possession of

unregistered destructive devices. Mr. Vanochten appeared in court for his first appearance

on March 21, 2023, and requested court-appointed counsel. The government moved for

detention and he was remanded to the custody of the United States Marshals. He returned

to court on March 24, 2023, for his arraignment, detention, and initial pretrial conference

hearings with undersigned counsel. The government withdrew its request for detention,

and he was released on bond with conditions.
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       A petition and order for action on conditions of pretrial release was filed and Mr.

Vanochten appeared in court on May 1, 2023, to address the alleged bond violations. The

Court entered an order modifying conditions of bond.

       On May 5, 2023, counsel and Mr. Vanochten had several conversations about his case

and bond. Mr. Vanochten determined it was in his interest to request that his bond be revoked

and that he go into custody.

       U.S. Probation/Pretrial Services Officer Tonika R. Cooper and Assistant U.S. Attorney

Nils R. Kessler are aware that counsel is seeking that this Honorable Court revoke Mr.

Vanochten’s bond.

                                        Conclusion

       The defense is respectfully requesting that Vanochten’s bond be revoked and he be

placed into custody under these circumstances.

                                                  Respectfully submitted,

                                                  SHARON A. TUREK
                                                  Federal Public Defender

Dated: May 5, 2023                                /s/ Sean R. Tilton
                                                  SEAN R. TILTON
                                                  Assistant Federal Public Defender
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                                                  Grand Rapids, Michigan 49503
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